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IN THE UNITED STATES DISTRICT C()URT
FOR THE WESTERN DISTRICT OF TENNEWB 30 pM 2; m
WESTERN DIVISION

 

 

EDGAR JOHNSON,
Plaintiff,

v. NO. 03-2567-BP

GREGG DREW, et. al.,

Defendants.

 

PROPOSED ORDER ON THE MOTION OF DEFENDANT GREGG DREW FOR
AN EXTENSION OF TIME TO DISCLOSE EXPERTS

 

Before this Court is the Motion of Defendant Gregg Drew for Extension of Tirne
to Disclose Experts. This Court finds that this motion is Well taken and should be granted
lt is, therefore, ordered, adjudged and decreed that the deadline for the disclosure
of experts by defendant Gregg Drew is extended and that this defendant will not be
required to disclose any expert Witnesses until sixty (60) days following expert

disclosures by the plaintiffl

IT IS SO ORDERED, this the bb day of AU%Q§ , 2005.

UNITED STATES B{'SC‘FRI'€=[` JUDGE

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This notice confirms a copy of the document docketed as number 257 in
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Honorable Bernice Donald
US DISTRICT COURT

